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                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF SOUTH DAKOTA
                                     SOUTHERN DIVISION                                     DEC 2 3 2013
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  UNITED STATES OF AMERICA,      CR 07-40055-26
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              Plaintiff, * MEMORANDUM OPINION AND
                         *      ORDER DENYING
      -vs-               *     RULE 60(b) MOTION
                         *
 TYLER BROWN,            *
                         *
              Defendant. *
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 ***************************************************
         Pending before the Court is defendant Tyler Brown's motion for a reduced sentence pursuant
 to Federal Rule ofCivil Procedure 60(b).1 Defendant asks the Court to reduce his sentence from 120
 months to 60 months which is the Fair Sentencing Act's new mandatory minimum for the amount of
 drugs attributed to Defendant. For the reasons set forth below, Defendant's motion will be denied.


         On April 2, 2010, Defendant was sentenced by this Court after a jury found him guilty of
 conspiring to distribute a contro lIed substance, cocaine base (crack cocaine), in vio lation 0 f21 U. S. C.
  §§ 841 (a)(l) and 846. Defendant's total offense level was 30. With a criminal history category of
 IV, Defendant's advisory guideline range for crack cocaine was 135 to 168 months. The government
 stated that they had no objection to a reasonable downward variance in keeping with the
 Administration's position that the sentencing disparity between crack cocaine and powder cocaine
 should be eliminated. Accordingly, the Court applied the sentencing guidelines for powder cocaine,
 resulting in an offense level of 18 and a guideline range of 41 to 51 months. Because Defendant's
 offense involved 50 grams or more of cocaine base, he faced a statutory mandatory minimum
 sentence of120 months. The Court found that the mandatory minimum sentence was applicable and
  sentenced Defendant to 120 months. See United States v. Williams, 474 F.3d 1130, 1131 (8th Cir.
  2007) (Supreme Court's decision in United States v. Booker, 542 U.S. 220 (2005), which declared


         lDefendant fails to cite any authority indicating that Rule 60(b) ofthe Federal Rules of Civil
  Procedure provides a basis for relief from a judgment in a criminal case. Even if Rule 60(b) were
  applicable, Defendant is not entitled to relief.
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  the sentencing guidelines were effectively advisory and directed courts to fashion sentences in
  accordance with § 3553(a), "does not expand the district court's authority to impose a sentence
  below a statutory minimum"). On April 9, 201 0, Defendant appealed his sentence to the Eighth
  Circuit.


             On August 3, 2010, while Defendant's case was on direct appeal, the Fair Sentencing Act
  (FSA) was enacted. The FSA reduced the crack-to-powder sentencing ratio from 100-to-1 to
  18-to-l by increasing the drug amounts triggering mandatory minimum sentences for crack cocaine
  offenses. See Dorsey v. United States, 132 S.Ct. 2321,2329 (2012). The Eighth Circuit issued its
  opinion in Defendant's appeal on October 12, 2010, holding in relevant part that the FSA is not
  retroactive and thus the FSA's reduced mandatory minimum sentence did not apply to Defendant.
  See UnitedStatesv. Brown, 2010WL 3958760 at *1 (8thCir. Oct. 12, 2010)(unpublished)(theFair
  Sentencing Act contains no express language that it is retroactive, so "the statutory minimum existing
  at the time the offense was committed governs"). In the Dorsey decision issued on June 21,2012,
  the Supreme Court held that the more lenient mandatory minimums in the FSA apply to those
  offenders whose crimes occurred before the effective date ofthe Act, but who were sentenced after
  that date. Dorsey, 132 S.Ct. at 2355. Defendant argues that although he was sentenced before the
  FSA became law and therefore does not fit within Dorsey's narrow holding that the new mandatory
  minimums apply only to persons sentenced after the effective date ofthe FSA, the FSA should apply
  to him because his case was on direct appeal when the FSA became effective on August 3, 2010.
  There is no authority for this proposition. As the Supreme Court recognized in Dorsey, "application
  ofthenew minimums to pre-Act offenders sentenced after August 3 will create... disparities" between
  "pre-Act offenders sentenced before August 3 and those sentenced after that date." Dorsey, 132
  S.Ct. at 2335. These disparities, the Supreme Court reasoned, "reflect[ ] a line-drawing effort" and
  "will exist whenever Congress enacts a new law changing sentences (unless Congress intends re­
  opening sentencing proceedings concluded prior to a new law's effective date)." Id. After Dorsey,




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  the Eighth Circuit held that the FSA does not apply retroactively to defendants who were sentenced
  before August 3, 2010. 2 United States v. Reeves, 717 F.3d 647 (8th Cir. 2013).


          There is no indication that Congress intended the more lenient mandatory minimums to apply
  to defendants whose sentences were on direct appeal at the time the FSA became effective, and the
  binding precedent ofthe Eighth Circuit holds that the statutory minimum sentence existing at the time
  Defendant committed the offense applies.      Defendant's 120-month sentence was the minimum
  required by statute at the time he was sentenced. Accordingly,


         IT IS ORDERED that Defendant Tyler Brown's Rule 60(b) motion requesting a
         sentence modification (Docket 2070) is denied.

         Dated this 23rd day of December, 2013.

                                         BY THE COURT:



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                                        L rence L. Pierso I
                                        United States District Judge




          2Defendant cites a Sixth Circuit case where, despite Supreme Court precedent, a divided panel
  held that the FSA applies retroactively to defendants sentenced before August 3, 2010 who sought
  reductions in their sentences under 18 U.S.C. § 3582(c) because the sentences imposed under the old
  crack to powder cocaine ratios were racially discriminatory in violation of the Equal Protection
  Clause. See United States v. Blewett, 719 F.3d482, 492-94 (6th Cir. 2013). The Sixth Circuit vacated
  the panel opinion and heard the Blewett case en bane. The en bane Court recently held that the FSA' s
  mandatory minimums do not apply retroactively to those sentenced before its enactment. See United
  States v. Blewett, 2013 WL 6231727 (6th Cir. Dec. 3, 2013). Thus, Blewett is ofno help to Defendant.

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